            Case 2:12-cr-00322-JAM Document 55 Filed 02/20/13 Page 1 of 2


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 8                        UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                  No. 2:12-cr-00322-MCE
12              Plaintiff,
13         v.                                   RELATED CASE ORDER
14   ALEKSANDR LASTOVSKIY, ET AL.,
15             Defendants.
     _____________________________/
16
17   UNITED STATES OF AMERICA,                  No. 2:13-cv-00194-MCE-KJN
18              Plaintiff,
19         v.
20   2006 BMW 750Li, VIN:
     WBAHN83506DT30035, LICENSE
21   NUMBER: 5RLP132,
22             Defendant.
     _____________________________/
23
24         The Court received the Notice of Related Cases filed
25   February 4, 2013.    Examination of the above-entitled actions
26   reveals that both actions are related within the meaning of Local
27   Rule 123(a), E.D. Cal. (1997).
28   ///
              Case 2:12-cr-00322-JAM Document 55 Filed 02/20/13 Page 2 of 2


 1   The actions involve the same parties, are based on the same or a
 2   similar claim, and involve the same property transaction or
 3   event.
 4        Because the cases are already assigned to the same district
 5   judge, this Order is issued for informational purposes only and
 6   shall have no effect on the status of the cases.
 7   Dated: February 19, 2013
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 9                                     _______________________________________
                                       MORRISON C. ENGLAND, JR.
10                                     UNITED STATES DISTRICT JUDGE
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